Case 23-10831-MFW   Doc 940-2   Filed 01/31/24   Page 1 of 9




                      EXHIBIT A
                        Case 23-10831-MFW                  Doc 940-2         Filed 01/31/24          Page 2 of 9




January 19, 2024


Lordstown Motor Corporation
Melissa Leonard
38555 Hills Tech Drive
Farmington Hills MI 48331


           Re: Lordstown Motor Corporation
               USBC Case No. 23-10831


Dear Melissa Leonard:

Enclosed please find Kurtzman Carson Consultants' ("KCC") invoice for the period December 1, 2023 to
December 31, 2023 in the amount of $6,279.24 for the above referenced matter. Pursuant to our services
agreement, KCC's invoice is due upon receipt.

If you have any questions, please contact me at (310) 751-1803 or egershbein@kccllc.com.


Sincerely,
Kurtzman Carson Consultants LLC




Evan Gershbein
EVP Restructuring




Enclosures




Kurtzman Carson Consultants LLC 222 N Pacific Coast Hwy, El Segundo, CA, 90245 Phone 310-823-9000 Fax 310-823-9133 kccllc.com
                          Case 23-10831-MFW      Doc 940-2   Filed 01/31/24   Page 3 of 9




  January 19, 2024


  Copy Parties
  Morgan L. Patterson
  Womble Bond Dickinson (US) LLP
  1313 North Market Street, Suite 1200
  Wilmington DE 19801

  Fan B. He
  White & Case LLP
  200 South Biscayne Boulevard, Suite 4900
  Miami FL 33131

  David M. Turetsky
  White & Case, LLP
  1221 Avenue of the Americas
  New York NY 10020

  Benjamin Hackman
  Office of the United States Trustee Delaware
  844 King St Ste 2207
  Lockbox 35
  Wilmington DE 19801

  David M. Fournier
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Marcy J. McLaughlin Smith
  Troutman Pepper Hamilton Sanders LLP
  Hercules Plaza, Suite 5100
  1313 N. Market Street
  Wilmington DE 19801

  Francis J. Lawall
  Troutman Pepper Hamilton Sanders LLP
  3000 Two Logan Square 18th & Arch Streets
  Philadelphia PA 19103-2799

  Michael Port
  38555 Hills Tech Drive
  Farmington Hills MI 48331



US_KCC2647729 Lordstown Motor Corporation                                                   Page 2 of 8
                          Case 23-10831-MFW   Doc 940-2   Filed 01/31/24   Page 4 of 9




  January 19, 2024


  Copy Parties
  Amanda Ciccone
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Kathy McDougall
  38555 Hills Tech Drive
  Farmington Hills MI 48331

  Deborah Kovsky-Apap
  Troutman Pepper Hamilton Sanders LLP
  875 Third Avenue
  New York NY 10022




US_KCC2647729 Lordstown Motor Corporation                                                Page 3 of 8
                                                 Case 23-10831-MFW                                 Doc 940-2              Filed 01/31/24                 Page 5 of 9

                                                                          Kurtzman Carson Consultants LLC

  Account Number                                                                                                                        Invoice Date                   January 19, 2024

  Invoice Number                                                                                                                        Due Date                       Due upon receipt



                                                                                           Lordstown Motor Corporation
                                                                                                           Summary


                                                                              Description                                                    Amount

                                                               Hourly Fees
                                                               Hourly Fees Charged                                                                     $6,279.24

                                                               Total of Hourly Fees                                                                    $6,279.24


                                                               Expenses
                                                               Expenses                                                                                      $0.00

                                                               Total Expenses                                                                                $0.00


                                                               Invoice Subtotal                                                                        $6,279.24
                                                               Sales and Use Tax                                                                               0.00

                                                               Total Invoice                                                                         $6,279.24




____   ____   ____   ____   ____   ____   ____   ____   ____    ____
                                                                        Please
                                                                       ____
                                                                                detach and return this portion of the statement with your check to KCC.
                                                                           ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____   ____

                                                                       Please reference your Account Number and Invoice Number on your Remittance.




US_KCC2647729 Lordstown Motor Corporation                                                                                                                                                            Page 4 of 8
                               Case 23-10831-MFW       Doc 940-2     Filed 01/31/24    Page 6 of 9




                                            Kurtzman Carson Consultants LLC
                                                      12/01/2023 - 12/31/2023
                                                  Total Hourly Fees by Employee

Initial       Employee Name                                            Position Type     Hours         Rate          Total
AAE           Andres Estrada                                           SOL                19.60      $201.75      $3,954.24
ASK           Ashley Kuarasingh                                        SOL                11.50      $193.75      $2,228.12
JCN           Jacqueline Conklin                                       SOL                 0.50      $193.75        $96.88


                                                                                          Total                $6,279.24




US_KCC2647729 Lordstown Motor Corporation                                                                        Page 5 of 8
                          Case 23-10831-MFW                             Doc 940-2               Filed 01/31/24   Page 7 of 9


                                             Kurtzman Carson Consultants LLC
                                                                      12/01/2023 - 12/31/2023

                                                                                 Time Detail

    Date       Employee                                           Description                               Position Type       Category         Hours
   12/5/2023      AAE      Review solicitation procedures order related to omnibus objections and                SOL             Solicitation        0.40
                           disputed claims rules
   12/5/2023      AAE      Prepare updated voting summary and detail reports                                     SOL             Solicitation        1.00
   12/5/2023      AAE      Review ballots input into CaseView                                                    SOL             Solicitation        0.30


                                                                                                                 Total for 12/5/2023                1.70
   12/6/2023      AAE      Update voting amount spreadsheet with claims objections information                   SOL             Solicitation        0.30


                                                                                                                 Total for 12/6/2023                0.30
   12/7/2023      AAE      Prepare updated voting summary and detail reports                                     SOL             Solicitation        1.10
   12/7/2023      AAE      Review ballots input into CaseView                                                    SOL             Solicitation        0.40


                                                                                                                 Total for 12/7/2023                1.50
   12/8/2023      ASK      Process Master Ballots received                                                       SOL             Solicitation        0.80
   12/8/2023      ASK      Tabulate Master Ballots received                                                      SOL             Solicitation        1.50


                                                                                                                 Total for 12/8/2023                2.30
  12/11/2023      AAE      Review solicitation procedures order and voting declaration                           SOL             Solicitation        0.70
  12/11/2023      AAE      Prepare second updated summary and detail reports for counsel                         SOL             Solicitation        1.40
  12/11/2023      AAE      Prepare updated voting summary for counsel                                            SOL             Solicitation        0.70
  12/11/2023      AAE      Review ballots input into CaseView                                                    SOL             Solicitation        0.70
  12/11/2023      AAE      Coordinate ballot processing in CaseView                                              SOL             Solicitation        0.20
  12/11/2023      AAE      Prepare Unsecured Creditor Committee member voting details                            SOL             Solicitation        0.40


                                                                                                                 Total for 12/11/2023               4.10
  12/12/2023      AAE      Prepare preliminary voting summary for counsel                                        SOL             Solicitation        0.90
  12/12/2023      AAE      Review ballots input into CaseView                                                    SOL             Solicitation        0.30
  12/12/2023      AAE      Coordinate with KCC team on ballot processing                                         SOL             Solicitation        0.40
  12/12/2023      AAE      Prepare updated voting summary and detailed reports including securities              SOL             Solicitation        2.30
                           votes
  12/12/2023      AAE      Review solicitation procedures related to class 10 election                           SOL             Solicitation        0.20
  12/12/2023      ASK      Process Master Ballots received                                                       SOL             Solicitation        3.20
  12/12/2023      ASK      Tabulate Master Ballots received                                                      SOL             Solicitation        4.80
  12/12/2023      ASK      Coordinate with banks and brokers re receipt of master ballots                        SOL             Solicitation        1.20
  12/12/2023      JCN      Administrative quality control review of ballots input into KCC CaseView              SOL             Solicitation        0.50


                                                                                                                 Total for 12/12/2023             13.80
  12/13/2023      AAE      Review and finalize tabulation and detail reports                                     SOL             Solicitation        2.00
  12/13/2023      AAE      Coordinate with counsel and KCC team on class 10 voting extension and                 SOL             Solicitation        0.20
                           finalizing tabulation

                                                                                                                 Total for 12/13/2023               2.20
  12/18/2023      AAE      Prepare summary of director and officer voting records                                SOL             Solicitation        0.80
  12/18/2023      AAE      Prepare for and participate in voting tabulation call with counsel                    SOL             Solicitation        0.40

US_KCC2647729 Lordstown Motor Corporation                                                                                                       Page 6 of 8
                          Case 23-10831-MFW                                Doc 940-2            Filed 01/31/24   Page 8 of 9

                                              Kurtzman Carson Consultants LLC
                                                                       12/01/2023 - 12/31/2023

                                                                                  Time Detail

    Date       Employee                                            Description                              Position Type       Category         Hours
  12/18/2023      AAE      Prepare electronic balloting details for directors and officers                       SOL             Solicitation        1.10
  12/18/2023      AAE      Prepare copies of ballots per counsel request                                         SOL             Solicitation        0.70
  12/18/2023      AAE      Review late filed ballot summary for counsel                                          SOL             Solicitation        0.80
  12/18/2023      AAE      Coordinate with counsel and KCC team on voting summary                                SOL             Solicitation        0.30


                                                                                                                 Total for 12/18/2023               4.10
  12/19/2023      AAE      Review D&O late votes and update tracking sheet and coordinate with counsel           SOL             Solicitation        0.70
                           re same

                                                                                                                 Total for 12/19/2023               0.70
  12/20/2023      AAE      Coordinate with counsel on voting declaration related to opt in elections             SOL             Solicitation        0.30
  12/20/2023      AAE      Correspondence with counsel regarding voting deadline extensions                      SOL             Solicitation        0.10
  12/20/2023      AAE      Review for late filed ballots and coordinate with counsel re same                     SOL             Solicitation        0.30


                                                                                                                 Total for 12/20/2023               0.70
  12/21/2023      AAE      Update tracking sheet with late filed ballots                                         SOL             Solicitation        0.20


                                                                                                                 Total for 12/21/2023               0.20

                                                                                                                 Total Hours                      31.60




US_KCC2647729 Lordstown Motor Corporation                                                                                                       Page 7 of 8
                          Case 23-10831-MFW          Doc 940-2     Filed 01/31/24   Page 9 of 9

                                            Kurtzman Carson Consultants LLC
                                                    12/01/2023 - 12/31/2023
                                                          Expenses
Description                                                                     Units               Rate   Amount



                                                                                        Total Expenses




US_KCC2647729 Lordstown Motor Corporation                                                                  Page 8 of 8
